                                          UNITED STATES DISTRICT COURT
                                          WESTERN DISTRICT OF MISSOURI
                                               WESTERN DIVISION

 UNITED STATES OF AMERICA

                             Plaintiff,
 v.                                                           Case Number: 4:18-CR-00267-BCW(2)

 SHERRI L THOMAS                                              USM Number: 22016-045

                             Defendant.                       John Justin Johnston
                                                              Defendant’s Attorney



                                           JUDGMENT IN A CRIMINAL CASE

THE DEFENDANT pleaded guilty to Count 1s of the Superseding Indictment on February 11, 2021.

Accordingly, the Court has adjudicated that the defendant is adjudicated guilty of these offenses:

 Title & Section / Nature of Offense                                           Offense Ended           Count

 Conspiracy to Distribute 50 Grams or More of                                    July 1, 2019             1s
 Methamphetamine (lesser-included offense)
 21 U.S.C. §§ 841(a)(1), (b)(1)(B)(viii) and 846

 The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.

 Count 1 of the original Indictment is dismissed on the motion of the United States.

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material
changes in economic circumstances.


                                                           Date of Imposition of Sentence: July 1, 2021


                                                            /s/ Brian C. Wimes
                                                           BRIAN C. WIMES
                                                           UNITED STATES DISTRICT JUDGE

                                                           July 1, 2021




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                                                        IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of
84 months as to Count 1s of the Superseding Indictment.


 The Court recommends that the defendant be designated for participation in the RDAP Program.




 The defendant is remanded to the custody of the United States Marshal.




                                                           RETURN

I have executed this judgment as follows:


        Defendant delivered on __________________________ to _____________________________ at

_________________________________, with a certified copy of this judgment.




                                                                            UNITED STATES MARSHAL

                                                                     By _______________________________
                                                                        DEPUTY UNITED STATES MARSHAL




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                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years.

    The defendant must report to the probation office in the district to which the defendant is released within 72 hours
    of release from the custody of the Federal Bureau of Prisons.

    You must not commit another federal, state or local crime.

    You must not unlawfully possess a controlled substance.

    You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days
    of release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☐ The above drug testing condition is suspended, based on the court's determination that you
                pose a low risk of future substance abuse. (check if applicable)

    ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a
    sentence of restitution.

   ☒ You must cooperate in the collection of DNA as directed by the probation officer.

    ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
    et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
    which you reside, work, are a student, or were convicted of a qualifying offense.

    ☐ You must participate in an approved program for domestic violence.

    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in
    accordance with the Schedule of Payments sheet of this judgment.

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions
on the attached page.

                                    STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision.
These conditions are imposed because they establish the basic expectations for your behavior while on
supervision and identify the minimum tools needed by probation officers to keep informed, report to the
court about, and bring about improvements in your conduct and condition.

    1. You must report to the probation office in the federal judicial district where you are authorized to reside within
       72 hours of your release from imprisonment, unless the probation officer instructs you to report to a different
       probation office or within a different time frame.
    2. After initially reporting to the probation office, you will receive instructions from the court or the probation
       officer about how and when you must report to the probation officer, and you must report to the probation
       officer as instructed.
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    3. You must not knowingly leave the federal judicial district where you are authorized to reside without first
        getting permission from the court or the probation officer.
    4. You must answer truthfully the questions asked by your probation officer.
    5. You must live at a place approved by the probation officer. If you plan to change where you live or anything
        about your living arrangements (such as the people you live with), you must notify the probation officer at least
        10 days before the change. If notifying the probation officer in advance is not possible due to unanticipated
        circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
        expected change.
    6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit
        the probation officer to take any items prohibited by the conditions of your supervision that he or she observes
        in plain view.
    7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation
        officer excuses you from doing so. If you do not have full-time employment you must try to find full-time
        employment, unless the probation officer excuses you from doing so. If you plan to change where you work or
        anything about your work (such as your position or your job responsibilities), you must notify the probation
        officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not
        possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming
        aware of a change or expected change.
    8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know
        someone has been convicted of a felony, you must not knowingly communicate or interact with that person
        without first getting the permission of the probation officer.
    9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
        hours.
    10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
        (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to
        another person such as nunchakus or tasers).
    11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source
        or informant without first getting the permission of the court.
    12. If the probation officer determines that you pose a risk to another person (including an organization), the
        probation officer may require you to notify the person about the risk and you must comply with that instruction.
        The probation officer may contact the person and confirm that you have notified the person about the risk.
    13. You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. I understand additional information regarding these conditions is
available at the www.uscourts.gov.

 Defendant’s Signature                                                              Date




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                                        SPECIAL CONDITIONS OF SUPERVISION

    The defendant shall also comply with the following additional conditions of supervised release:

    1. The defendant shall successfully participate in any outpatient of inpatient substance abuse counseling program,
       which may include urinalysis, sweat patch, or Breathalyzer testing, as approved by the Probation Office, and pay
       any associated costs as directed by the Probation Office.
    2. The defendant shall not consume or possess alcoholic beverages or beer, at any time, and shall not be present in
       any establishment where alcoholic beverages are the primary items for sale.
    3. The defendant shall successfully participate in any mental health counseling program, as approved by the
       Probation Office, and pay any associated costs, as directed by the Probation Office.
    4. The defendant shall submit her person and any property, house, residence, office, vehicle, papers, computer,
       other electronic communication or data storage devices or media and effects to a search, conducted by a U.S.
       Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
       contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
       revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant
       to this condition.
    5. The defendant shall comply with the Western District of Missouri Offender Employment Guideline which may
       include participation in training, counseling, and/or daily job searching as directed by the probation officer. If
       not in compliance with the condition of supervision requiring full-time employment at a lawful occupation, the
       defendant may be required to perform up to 20 hours of community service per week until employed, as
       approved, or directed by the probation officer.
    6. The defendant shall provide the Probation Office with access to any requested financial information.
    7. The defendant shall satisfy any warrants/pending charges within the first 60 days of supervision.




                                       ACKNOWLEDGMENT OF CONDITIONS

I have read or have read the conditions of supervision set forth in this judgment and I fully understand them. I have
been provided a copy of them.

I understand that upon finding of a violation of probation or supervised release, the Court may (1) revoke supervision,
(2) extend the term of supervision, and/or (3) modify the conditions of supervision. I understand additional
information regarding these conditions is available at the www.uscourts.gov.

_______________________________________                 ____________________
Defendant                                               Date

________________________________________                ____________________
United States Probation Officer                         Date
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                                          CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments set forth in the Schedule
of Payments.

                    Assessment           Restitution           Fine                AVAA Assessment*            JVTA Assessment**
  TOTALS            $ 100.00             None                  Waived              N/A                         N/A




The mandatory special assessment of $100.00 is due immediately.

Since the Court finds the defendant does not have the ability to pay a fine, the fine is waived.



                                                SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 Special instructions regarding the payment of criminal monetary penalties:

 It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1s
 which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the
court.


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court
costs.



* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994, but before April 23, 1996.

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